      Case 5:20-cv-01796-SVW-AFM Document 68 Filed 10/30/20 Page 1 of 1 Page ID #:640


                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Danielle Howard Martinez                                            CASE NUMBER

                                                                                   5:20-cv-01796 DMG(KKx)
                                                    PLAINTIFF(S)
                              v.
Gavin Newsom et al                                                          ORDER RE TRANSFER PURSUANT
                                                                              TO GENERAL ORDER 19-03
                                                                                  (RELATED CASES)
                                                   DEFENDANT(S).

                                                             CONSENT

      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 19-03.

            October 30, 2020                                       Stephen V. Wilson
                      Date                                         United States District Judge

                                                         DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                         United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case 2:20-cv-06472 SVW(AFMx) and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                     Kato               to Magistrate Judge            MacKinnon           .

           On all documents subsequently filed in this case, please substitute the initials SVW(AFMx) after the case number
in place of the initials of the prior judge, so that the case number will read 5:20-cv-01796 SVW(AFMx) . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (03/19)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
